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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 IN RE:                                          §       Case No. 21-32292
                                                 §
 NB LOFT VUE DST, et al.                         §       Chapter 11
                                                 §
                                                 §       (Jointly Administered)
        Debtors.                                 §

                            DECLARATION OF DAVID BROWN

       Pursuant to 28 U.S.C. § 1746, I, David Brown, declare as follows under penalty of perjury:

        1.     “My name is David Brown. I am a Senior Asset Manager for Fannie Mae, creditor
and party-in-interest in the above-referenced bankruptcy case. I am of sound mind and competent
to make this declaration. I have personal knowledge of all the facts stated within this declaration
based on my personal review of the books and records of Fannie Mae pertaining to the loan in the
amount of $23,265,000.00 made by Berkeley Point Capital, LLC d/b/a Newmark Knight Frank
(“Berkeley”) to NB Vue Mac, DST, and subsequently assigned by Berkeley to Fannie Mae,
including the records attached to this declaration, and all statements of fact contained herein are
true and correct. I am authorized to make this declaration.

        2.      Attached hereto are business records of Fannie Mae. The documents attached
hereto as Exhibits A-1 through A-10 are true and correct copies of documents kept by Fannie Mae
in the regular course of business, and it was the regular course of business of Fannie Mae for an
employee or representative with knowledge of the act or event recorded to make or keep the record,
and these records were made or kept at or near the time of the act or event, or reasonably soon
thereafter:

               o    Exhibit A-1: Loan Agreement
               o    Exhibit A-2: Note
               o    Exhibit A-3: Security Instrument
               o    Exhibit A-4: Assignments
               o    Exhibit A-5: First Forbearance Agreement
               o    Exhibit A-6: Notice of Default
               o    Exhibit A-7: First Modification
               o    Exhibit A-8: Post-Modification Notice of Default
               o    Exhibit A-9: Second Modification
               o    Exhibit A-10: Second Post-Modification Notice of Default

       3.      The records of Fannie Mae reflect the following facts:

               a.      Berkeley made a loan to Vue Mac in the original principal amount of
                       $23,265,000.00 (“Loan”) pursuant to that certain Multifamily Loan and
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                   Security Agreement dated December 18, 2015 (“Loan Agreement”)
                   executed by and between Vue Mac and Berkeley. A true and correct copy
                   of the Loan Agreement is attached as Exhibit A-1 and incorporated herein
                   by reference.

              b.   The Loan is further evidenced by that certain Multifamily Note dated
                   December 18, 2015 (“Note”), made by Vue Mac payable to Berkeley in the
                   original principal amount of $23,265,000.00. Interest periodically accrued
                   on the outstanding balance of the Loan in accordance with the terms of the
                   Note. A true and correct copy of the Note, duly indorsed to Fannie Mae, is
                   attached as Exhibit A-2 and incorporated herein by reference.

              c.   To secure the obligations to Berkeley under the Note, Vue Mac granted to
                   Rebecca S. Conrad (“Trustee”), as trustee for the benefit of Berkeley, all of
                   its interests in real property located at 4460 S. MacGregor Way, Houston,
                   Texas 77021 (the “Property”) and other rights associated therewith (the
                   “Real Property Collateral”), as described in that certain Multifamily Deed
                   of Trust, Assignment of Leases and Rents, Security Agreement and Fixture
                   Filing dated December 18, 2015 (“Security Instrument”), executed by Vue
                   Mac in favor of Berkeley. The Security Instrument was recorded on
                   December 18, 2015 in the official records of Harris County, Texas as
                   Instrument Number: 20150570034. A true and correct copy of the Security
                   Instrument is attached as Exhibit A-3 and incorporated herein by reference.

              d.   Pursuant to the Security Instrument, Vue Mac’s obligations were further
                   secured by certain personal property of Vue Mac, including without
                   limitation, Vue Mac’s fixtures, equipment, accounts, and other collateral
                   related to the Property (collectively, the “Personal Property Collateral” and
                   together with the Real Property Collateral, collectively, the “Collateral”).
                   The Collateral encompasses all real and personal property related to the
                   Property, including, without limitation, all accounts, contracts, leases, rents,
                   revenues, and profits related to the Property (collectively, the “Rents”), as
                   well as all property of Vue Mac defined as cash collateral in Bankruptcy
                   Code Section 363(a) . Further, Vue Mac assigned its rights in and to the
                   Leases, Rents, interests and privileges related to the Property to Berkeley.

              e.   Immediately after the Loan’s closing, pursuant to that certain Assignment
                   of Collateral Agreements and Other Loan Documents dated December 18,
                   2015 (“Assignment of Collateral Agreements”) and Assignment of Security
                   Instrument dated December 18, 2015 (“Assignment of Security Instrument”
                   and together with the Assignment of Collateral Agreements, collectively,
                   the “Assignments”), Berkeley assigned all of its rights and interests in the
                   Loan Agreement, Note, Security Instrument and other loan documents to
                   Fannie Mae. The Assignment of Security Instrument was recorded on
                   December 18, 2015 in the official records of Harris County, Texas as
                   Instrument Number: 20150570035. A true and correct copy of the

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                   Assignments are attached as Exhibit A-4 and incorporated herein by
                   reference.

              f.   Beginning with the monthly payment due in April 2020, Vue Mac was
                   unable to make payments due under the Loan Documents. As a result, Vue
                   Mac and Fannie Mae entered into a Forbearance Agreement dated May 5,
                   2020 and executed May 8, 2020 (“First Forbearance Agreement”) whereby
                   Fannie Mae agreed to forbear from exercising its rights and remedies under
                   the Loan Documents. A true and correct copy of the First Forbearance
                   Agreement is attached as Exhibit A-5 and incorporated herein by reference.

              g.   However, after the expiration of the forbearance period under the First
                   Forbearance Agreement, Vue Mac defaulted on the Loan by failing to pay
                   amounts owed under the Loan Documents. By letter dated August 24, 2020
                   (“Notice of Default”), Fannie Mae , through counsel, notified Vue Mac of
                   the defaults, that all outstanding Obligations were due and immediately
                   payable, and that Fannie Mae may institute foreclosure proceedings on the
                   Property. A true and correct copy of the Notice of Default is attached as
                   Exhibit A-6 and incorporated herein by reference.

              h.   Fannie Mae, Vue Mac and the guarantors of the Loan subsequently
                   executed that certain Loan Modification Agreement on November 1, 2020
                   (“First Modification”) whereby Fannie Mae conditionally rescinded
                   acceleration of the Loan and reinstated the original maturity date. A true
                   and correct copy of the First Modification is attached as Exhibit A-7 and
                   incorporated herein by reference.

              i.   However, Vue Mac defaulted on the terms of the First Modification, and by
                   letter dated December 4, 2020 (“Post-Modification Notice of Default”),
                   Fannie Mae, through counsel, notified Vue Mac that all outstanding
                   Obligations were due and immediately payable and that Fannie Mae may
                   institute foreclosure proceedings on the Property. A true and correct copy
                   of the Post-Modification Notice of Default is attached as Exhibit A-8 and
                   incorporated herein by reference.

              j.   Fannie Mae, Vue Mac and the guarantors of the Loan subsequently
                   executed that certain Forbearance and Second Loan Modification
                   Agreement on January 5, 2021 (“Second Modification”) whereby Fannie
                   Mae conditionally rescinded acceleration of the Loan, reinstated the original
                   maturity date and agreed to forbear from exercising its rights and remedies
                   under the Loan Documents. A true and correct copy of the Second
                   Modification is attached as Exhibit A-9 and incorporated herein by
                   reference.

              k.   However, Vue Mac defaulted on the terms of the Second Modification, and
                   by letter dated May 3, 2021 (“Second Post-Modification Notice of
                   Default”), Fannie Mae, through counsel, notified Vue Mac that all
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                      outstanding Obligations were due and immediately payable and that Fannie
                      Mae may institute foreclosure proceedings on the Property. A true and
                      correct copy of the Second Post-Modification Notice of Default is attached
                      as Exhibit A-10 and incorporated herein by reference.

              l.      Due to Vue Mac’s failure to cure its defaults, Fannie Mae instituted
                      foreclosure proceedings for the Property and the foreclosure sale was set to
                      occur on July 6, 2021. However, on that same date, Vue Mac filed its
                      bankruptcy petition to prevent Fannie Mae from foreclosing on the
                      Property.”

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.

       Executed this 9th day of September, 2021.



                                             David Brown




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                         Borrower the opportunity to stabilize the operations of the Property, and to commence
                         processing applicable insurance claims or other claims for relief from available resources,
                         and notwithstanding the defaults as a result of the delinquent monthly payments and/or other
                         defaults that may exist, Fannie Mae has agreed to forbear from exercising its rights and
                         remedies under the Note and other Loan Documents on the terms set forth herein.

               3.        Fannie Mae will continue to forbear from exercising its rights and remedies until June 30,
                         2020 (“Forbearance Expiration Date”); conditioned, however, on Borrower’s cooperation
                         with and providing monthly rent rolls, monthly rent collection reports, monthly operating
                         statements, and such other information as requested by Servicer to determine the on-going
                         nature of the hardship, the extent of the operational needs of the Property and such other
                         action or relief that may be necessary.

               4.        Borrower will be required to bring the Loan current at the Forbearance Expiration Date or
                         through the payment of the outstanding forbearance amounts due in equal monthly
                         installments to be repaid on a schedule not to exceed twelve (12) months following the
                         Forbearance Expiration Date and to be repaid in addition to the then current monthly
                         obligation due under the Note and other Loan Documents. If Borrower elects to repay the
                         outstanding forbearance amounts due in monthly installments, Borrower may prepay the
                         outstanding forbearance amounts due at any time without a prepayment premium.
                         Notwithstanding the foregoing, Borrower shall bring the Loan current upon receipt of
                         Business Income (business interruption/rent loss) insurance proceeds by Borrower or
                         Servicer or upon receipt of any other financial relief or assistance available to Borrower
                         from any other source, including, but not limited to, any local, state, or federal
                         government assistance or relief program.

                         In the event Borrower fails to timely perform any of its obligations under this paragraph 3,
                         Fannie Mae's agreement to forbear from exercising its rights and remedies under the Note
                         and other Loan Documents shall immediately terminate, without further notice or demand,
                         and Fannie Mae may, at its option, accelerate the Note and/or exercise any and all other
                         rights and remedies available to it under the Loan Documents, at law or in equity.

               5.        If Servicer is in receipt of Borrower's insurance proceeds, these insurance proceeds and
                         any other insurance proceeds with respect to the Property (including business
                         income/business interruption/rent loss insurance) will be held in escrow by Servicer, on
                         behalf of Fannie Mae, pending Borrower's completion and delivery of those items
                         described in the Loan Documents, with respect to the use of the insurance proceeds.
                         Such insurance proceeds shall continue to be held in escrow by Servicer in an Insurance
                         Proceeds Collateral Account for reimbursement to Borrower for costs of stabilizing the
                         Property and/or applied to the Loan, as provided by the Loan Documents.

               6.        Monthly installments under the Note are due on the first day of each month and are
                         subject to a late fee if received after the tenth (10th) day of each month. In addition, the
                         Note and other Loan Documents provide for the charging of interest at a default rate of
                         eight and fifty-nine hundredths percent (8.59%) during the period that Borrower is in
                         default.
               Forbearance Agreement (Health Crisis Relief – Servicer Delegated)                                Page 2
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               7.        As additional consideration for the relief granted herein by Fannie Mae, Borrower
                         expressly agrees to not pursue or initiate, and agrees to defer, halt, cease, and abate, any
                         eviction or similar action against any tenant solely on the basis of such tenant’s inability
                         to pay his or her rent obligation to Borrower. Borrower agrees to be bound by the
                         eviction suspension until the longer of (i) the moratorium imposed under Sec. 4024 of the
                         CARES Act, (ii) the Forbearance Expiration Date, or (iii) any longer period otherwise
                         mandated by law.

               8.        Until Borrower is current on its obligations to Fannie Mae, Borrower agrees any revenue
                         or income generated by the Property, whether from rents or other sources, will be used
                         solely for allowable normal and customary operating expenses and approved capital
                         expenditures. Borrower further agrees no fees, charges, or compensation, except as
                         provided herein for management fees, shall be paid or distributed to Borrower, its general
                         partners, limited partners, members, or other related persons or entities, if any, or to any
                         affiliates thereof, until Borrower is current on its obligations to Fannie Mae.

                         For each month through the Forbearance Expiration Date, Borrower agrees to remit to
                         Servicer, no less frequently than monthly, all net operating income from the Property
                         (“NOI”), as defined below. Borrower’s remittance of NOI does not replace or waive
                         Borrower’s obligation to make the required installments on the Loan.

                         NOI shall mean all revenue or income generated by operations of the Property, including,
                         but not limited to, rental receipts, late fees, application fees, forfeited deposits, laundry and
                         vending income, furniture rental, and insurance proceeds, less only those allowable
                         expenses and approved capital expenditures relative to the operation of the Property.
                         Allowable expenses shall include a management fee not to exceed the lower of the current
                         contract fee or five percent (5.0%) of the actual collections (which collections do not include
                         insurance proceeds or condemnation awards) per month.

                         Each month, the tender of NOI is to be accompanied and supported by a statement of
                         monthly income and expenses which has been certified by an appropriate representative of
                         Borrower as entirely true, correct and complete. This statement is to be prepared on a cash
                         basis, in such detail as may be requested by Fannie Mae or Servicer, and must be received
                         by Servicer with such cash payments no later than the 10th calendar day of the month
                         following the month reported for. For example, the NOI and statement for the period ending
                         April 2020, must be received by Servicer on or before May 10, 2020.

                         Fannie Mae may use the funds provided by Borrower in any order and for any purpose
                         which is related directly or indirectly to the Loan Documents or to the Property including,
                         without limitation, the payment of attorneys’ fees or other charges incurred by Fannie Mae,
                         application to principal or interest due under the note evidencing the Loan, payment for
                         repairs or capital expenditures for the Property, or any other purpose determined by Fannie
                         Mae in its sole and absolute discretion and in accordance with the Loan Documents. The
                         receipt and application of such funds by Fannie Mae shall not constitute a waiver of any
                         amounts due under the Loan Documents or of any default in connection therewith.
               Forbearance Agreement (Health Crisis Relief – Servicer Delegated)                                    Page 3
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               9.        Notwithstanding Fannie Mae's agreement to forbear from exercising its rights and
                         remedies, and the acceptance of any partial payments at any time by the Servicer, the
                         Note remains in default, and Fannie Mae does not waive any defaults set forth in this
                         letter, or any other defaults which may exist or arise under the Note and any Loan
                         Document executed in connection with the Note. This letter is to evidence Fannie Mae's
                         and Borrower's agreement for forbearance and does not, and should not be deemed to,
                         amend or modify the Note, the other Loan Documents or Borrower's obligations
                         thereunder. Acceptance of late payments does not imply that any future late payments will
                         be accepted by Fannie Mae or Servicer, and shall not be deemed a waiver of Fannie Mae's
                         right to reject late payments, assess late charges, charge a default rate of interest, or prevent
                         Fannie Mae from exercising any right, remedy, or power available to Fannie Mae,
                         including, without limitation, all rights, remedies, and powers granted under the Note and
                         any Loan Documents and at law or in equity.

               10.       By signing the Acceptance included herein, Borrower unconditionally acknowledges to be
                         indebted to Fannie Mae for all amounts presently unpaid and outstanding under the Note, in
                         principal, interest, and other amounts, without defense, setoff, deduction or counterclaim of
                         any kind whatsoever, all of which are forever waived and released.

               11.       By signing the Acceptance included herein, Borrower additionally unconditionally
                         acknowledges and agrees that no act, event or circumstance occurring since the date of the
                         Note and the other Loan Documents shall give rise to any claim or cause of action
                         (regardless of whether based on common or civil law, equity, statute, regulation, or other
                         grounds) against Fannie Mae or Servicer, or against any of their respective officers,
                         directors, employees, successors, assigns, agents, and attorneys (collectively, the "Released
                         Parties"), with Borrower hereby unconditionally and fully releasing and forever discharging
                         the Released Parties from all actions, causes of action, claims and/or demands or every
                         nature whatsoever, whether at law or in equity, in tort or in contract, or otherwise, and
                         whether known or unknown, or present or contingent, including release of any rights to
                         recover consequential or punitive damages, that Borrower may now have as against any
                         Released Party, further including any and all claims in connection with the Loan, this
                         forbearance agreement, or any extension of credit, refusal to extend credit, waiver,
                         acquiescence, or any other act or failure to act in connection with any matter pertaining to
                         the Note, the Security Instrument, and/or the Loan Documents. Borrower expressly
                         acknowledges this paragraph is intended to include any claim or action Borrower may assert
                         now or in the future against Fannie Mae or Servicer arising out of or from the Borrower’s
                         agreement to the eviction suspension described herein.

               12.       Borrower represents: (i) it is a sophisticated commercial real estate investor that has had
                         the opportunity to be represented by independent counsel of its own choosing, (ii) it or its
                         authorized parties have carefully read and fully understand this agreement in its entirety,
                         and (iii) it is fully aware of the contents herein and its meaning, including any risks
                         related thereto. Borrower further represents the individual executing this letter has been
                         duly authorized to act on behalf of Borrower, has executed this agreement free from
                         coercion, duress or undue influence, and that the agreements set forth herein are part of
               Forbearance Agreement (Health Crisis Relief – Servicer Delegated)                                    Page 4
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                         an arms-length transaction. Borrower affirms it has not relied upon any guidance from
                         Fannie Mae or Servicer in its decision to enter into this agreement. Borrower agrees it is not
                         a third-party beneficiary of any certification of Servicer to Fannie Mae related to this
                         agreement or of any contract or agreement between Servicer and Fannie Mae.

               13.       This Agreement may be signed or executed using electronic signatures. This Agreement
                         may be executed in as many counterparts as necessary or convenient, including both
                         counterparts that are executed on paper and counterparts that are electronic records and
                         executed electronically. Each executed counterpart (and any copy of an executed
                         counterpart that is an electronic record) shall be deemed an original, and all such
                         counterparts shall constitute one and the same agreement. An electronic or other copy of
                         a signed document shall be considered as effective as an original. By signing this
                         Agreement, Borrower agrees that Fannie Mae and Servicer may deliver communications
                         electronically, that this Agreement, other Loan Documents, and any communications
                         may, at Fannie Mae and Servicer’s option, be signed or executed using electronic
                         signatures, and that the use of electronic records and signatures will be in place of written
                         documents and handwritten signatures. If Borrower executes this Agreement
                         electronically, Borrower agrees that the electronic mark affixed to this Agreement
                         constitutes the signature of an individually legally authorized to act on behalf of
                         Borrower and will be enforceable as and to the full extent of a hand-written signature.

                              [NO FURTHER TEXT ON THIS PAGE. SIGNATURES FOLLOW.]




               Forbearance Agreement (Health Crisis Relief – Servicer Delegated)                                  Page 5
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               If you have any questions regarding this matter, please do not hesitate to contact Matthew Minegar
               at 949-754-6339 or vie email at matthew.minegar@ngkf.com.

               Sincerely,

               BERKELEY POINT CAPITAL LLC, D/B/A
                 NEWMARK KNIGHT FRANK, a Delaware
                 limited liability company
                                                     Digitally signed by Laura


               By:
                     Laura Smith                     Smith
                                                     Date: 2020.05.08 22:17:55
                                                     -04'00'
                     Name:
                     Title:

               By the signature above, Servicer represents and certifies to Fannie Mae Servicer has acted as a
               prudent commercial real estate lender and conducted sufficient due diligence and reviewed the
               information and documents necessary to document the Borrower’s hardship and determine the relief
               granted herein for the Borrower is necessary.


                                                                       BORROWER ACCEPTANCE:

                                                                       ACCEPTED AND AGREED this                   day of
                                                                                 , 2020.

                                                                       NB VUE MAC, DST, a Delaware statutory trust
                                                                       By: NB Vue Mac ST, LLC, a Delaware limited
                                                                           liability company, its Signatory Trustee
                                                                                 By: Nelson Brothers Professional Real Estate,
                                                                                     LLC, a California limited liability
                                                                                     company, its sole member


                                                                                     By:
                                                                                            Patrick Nelson
                                                                                            Authorized Signatory
                                                                                           




               Forbearance Agreement (Health Crisis Relief – Servicer Delegated)                                             Page 6
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                             LOAN MODIFICATION AGREEMENT




THIS LOAN MODIFICATION AGREEMENT (this "Agreement") is entered into as of November
1, 2020 (the "Effective Date"), by and among FANNIE MAE, a corporation organized and
existing under the laws of the United States ("Holder"), NB VUE MAC, DST, a Delaware
statutory trust ("Borrower"), NELSON BROTHERS PROFESSIONAL REAL ESTATE, LLC, a
California limited liability company (“Nelson Brothers”), PATRICK NELSON, an individual (“P
Nelson”), and BRIAN NELSON, an individual ("B. Nelson" and together with Nelson Brothers
and P. Nelson, collectively, the “Guarantors”; Borrower and Guarantors are referred to herein,
collectively, as the "Obligors").
                                           RECITALS
        A.     Borrower is indebted to Holder for a loan in the original principal amount of
$23,265,000.00 (the "Loan") pursuant to that certain Multifamily Loan and Security Agreement
dated December 18, 2015 (the "Loan Agreement"), executed by Borrower and Berkeley Point
Capital, LLC, d/b/a Newmark Knight Frank (in its capacity as the original lender of the Loan, the
“Original Lender”, and in its capacity as the servicer on behalf of Holder, the “Loan Servicer”).
The Loan is evidenced by that certain Multifamily Note dated December 18, 2015, made by
Borrower payable to Original Lender in the original principal amount of $23,265,000.00 (the
"Note"). The Loan is secured by the Loan Agreement and by that certain Multifamily Deed of
Trust, Assignment of Leases and Rents, Security Agreement, and Fixture Filing dated
December 18, 2015, executed by Borrower in favor of Original Lender, recorded in the real
property records of Harris County, Texas on December 21, 2015, as Instr. No. 20150570034
(the "Security Instrument") and encumbering the “Mortgaged Property” more particularly
described therein. Borrower agreed to indemnify Original Lender and successor holders of the
Loan for certain environmental liabilities pursuant to, and as more particularly described in, that
certain Environmental Indemnity Agreement dated December 18, 2015, executed by Borrower
in favor of Original Lender (the “Environmental Indemnity”). Guarantors agreed to guarantee
certain of Borrower's obligations under the Loan Agreement, Note, Security Instrument,
Environmental Indemnity, and other Loan Documents described in the Loan Agreement by that
certain Guaranty of Non-Recourse Obligations dated December 18, 2015, executed by
Guarantors in favor of Original Lender (the "Guaranty").
        B.      The Loan Agreement, Note, Security Instrument, Environmental Indemnity,
Guaranty, Forbearance Agreement (as herein defined), all prior amendments or modifications of
the foregoing, and all other documents evidencing or securing the Loan are referred to herein
collectively as the "Loan Documents". All collateral granted by Obligors as security for the Loan,
including, without limitation, the property described in the Loan Agreement and the Security
Instrument, is referred to herein, collectively, as the "Collateral".
       C.      Original Lender transferred and assigned the Loan Documents to Holder
pursuant to, among other agreements, that certain Assignment of Security Instrument dated
December 18, 2015, executed by Original Lender in favor of Holder and recorded in the real
property records of Harris County, Texas on December 21, 2015, as Instr. No. 20150570035.
        D.     Borrower was unable to make payments due under the Loan Documents as a
result of the Health Crisis described in that certain Forbearance Agreement dated May 8, 2020,
between Borrower and Loan Servicer (the “Forbearance Agreement”). At the end of the

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Forbearance Agreement’s forbearance period, Borrower was not able to cure the existing
defaults under the Loan Documents, and Borrower and Holder were not able to agree to an
extension of the Forbearance Agreement. As a result, Holder, through counsel, gave notice of
the acceleration of the Loan’s maturity date by letter dated August 24, 2020 (the “Acceleration
Letter”).
       E.     The outstanding indebtedness due under the Loan Documents and all of
Obligors' other obligations under the Loan Documents are referred to herein as the "Loan
Obligations".
        F.   Obligors have requested that Holder reinstate the original maturity date of the
Loan and make other modifications to the Loan Documents as more particularly described in
this Agreement. Holder is willing to do so, but only on the terms hereinafter provided.
                                            AGREEMENT
       NOW, THEREFORE, in consideration of the Recitals, the mutual agreements herein and
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, Obligors agree with Holder, and represent and warrant to Holder, and Holder
agrees with Obligors, and the Loan Documents are modified as follows:
       1.    Definitions. Capitalized terms used, but not defined, in this Agreement shall
have the meanings set forth in the Loan Documents.
        2.      Acknowledgement of Obligations by Obligors. Obligors acknowledge and
agree that the Recitals set forth above are true and correct and are incorporated by reference
into the body of this Agreement. Obligors acknowledge and agree that Obligors are indebted to
Holder for repayment of the Loan Obligations, including all accrued interest, costs, fees
(including attorneys' fees) and expenses. Obligors hereby reaffirm and ratify the terms of the
Loan Documents, as amended herein, and acknowledge that they are enforceable in
accordance with their terms. The Guaranty remain in full force and effect and the Guarantor, by
signing below, hereby ratifies and affirms all terms and conditions of the Guaranty and hereby
consents to all modifications and amendments to the Loan Documents described herein.
         3.       Acknowledgment of Security Interests. Obligors acknowledge the validity and
enforceability of the security interests granted in favor of Holder in the Collateral, that the
security interests are properly recorded or perfected, as the case may be, and that Holder holds
a first-priority security interest in all of the Collateral. Obligors agree, at the request of Holder, to
execute and consent to the filing of any new or additional security agreements, mortgages or
UCC-1 financing statements or any other documents, as Holder may require to perfect or to
continue the perfection of such security interests, consistent with Article 9 of the Uniform
Commercial Code and other applicable law. Obligors acknowledge and agree that Holder will
require strict compliance with the terms of the Loan Documents, as amended herein, with time
being strictly of the essence.
         4.     Acknowledgement of Lack of Defenses. Obligors acknowledge that as of the
Effective Date each has no defense, counterclaim, offset, cross complaint, claim or demand of
any kind or nature whatsoever (collectively, the "Defenses") that can be asserted to reduce or
eliminate all or any part of their liability to repay any indebtedness to Holder or seek affirmative
relief for damages of any kind or nature from Holder, which Defenses arise out of or are related
to the Loan Documents or, more generally, Obligors' relationship with Holder. To the extent that
any such Defenses exist as of the Effective Date, Obligors acknowledge and agree that they
have been fully, forever and irrevocably released pursuant to Section 12 hereto.



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        5.     Conditions Precedent. As conditions precedent to the Holder's obligation to
reinstate the Maturity Date and otherwise modify the Loan Documents hereunder, Obligors
agree as follows:
             (a)    On or before 3:00PM Eastern time on November 2, 2020, Obligors shall
have made payment to Holder in the amount of $201,254.00, representing the installment
payment under the Loan Documents originally scheduled for October 1, 2020;
               (b)     On or before 3:00PM Eastern time on November 2, 2020, Obligors shall
have made payment to Holder an amount equal to $251,207.00, which amount Holder shall
apply first to the Expenses described in Section 10 below, and second to fully fund the
Imposition Deposits and Replacement Reserve Deposits due as of the Effective Date, according
to the records of the Loan Servicer;
               (c)    Obligors shall have executed and delivered to Holder this Agreement; and
                (d)    All representations of Obligors in this Agreement shall be true and correct
as of the Effective Date.
        6.      Reinstatement of Maturity Date. Holder agrees to the reinstatement of the
original maturity date of January 1, 2026 (the “Maturity Date”). The acceleration of the Maturity
Date pursuant to the Acceleration Letter is rescinded. If Holder, in its absolute discretion, deems
necessary, Borrower agrees to execute and deliver to Holder an agreement, in recordable form,
and in form and substance acceptable to Holder in its sole discretion, to reflect the
reinstatement of the Maturity Date in the public records where the Security Instrument is filed or
recorded. Borrower further agrees to pay any recording cost associated with such reinstatement
agreement. By agreeing to reinstate the Maturity Date, Holder is not committing to any future
extensions, renewals, or modifications of the Loan or Loan Documents.
       7.   Additional Modifications to Loan Documents. The Loan Documents are
hereby amended as follows:
                (a)     Payments. From and after the Effective Date, the Monthly Debt Service
Payments as defined in the Loan Agreement are hereby amended, and the outstanding
principal and interest due with respect to the Loan shall be due and payable, as follows:
                      (1) Obligors acknowledge and agree that an arrearage of deferred
                          principal and interest payments, in the aggregate amount of
                          $714,766.00, has accrued for the months of April, May, June, July,
                          August, and September 2020 (the “Arrearage”). Beginning on
                          November 1, 2020, and continuing on the same day of each month
                          thereafter through and including October 1, 2022, Borrower shall pay
                          the Arrearage to Holder in equal monthly installments of $29,782.00.
                      (2) Additionally, beginning on November 1, 2020, and continuing on the
                          same day of each month thereafter through and including October 1,
                          2021, Borrower shall make monthly interest only payments as follows:
                          (i) $83,056.05 if the prior month was a 28-day month; (ii) $86,022.34 if
                          the prior month was a 29-day month; (iii) $88,988.63 if the prior month
                          was a 30-day month; and (iv) $91,954.91 if the prior month was a 31-
                          day month.
                      (3) Beginning on November 1, 2021, and continuing on the same day of
                          each month thereafter through the Maturity Date, Borrower shall make
                          monthly payments of principal and interest equal to $119,127.71.


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                    (4) Additionally, beginning on November 1, 2020, and continuing on the
                        same day of each month thereafter through the Maturity Date,
                        Borrower shall make all Imposition Deposits, Monthly Replacement
                        Reserve Deposits, and any other required escrow or reserve deposits
                        as the same become due and payable under the Loan Documents.
                        As of the Effective Date, the estimated monthly amounts for such
                        deposits are as follows: (i) Monthly Replacement Reserve Deposit:
                        $4,044.65; (ii) monthly Imposition Deposit for Taxes: $70,001.97; and
                        (iii) monthly Imposition Deposit for insurance: $8,078.67. Obligors
                        acknowledge that the amount of any monthly deposits may change in
                        accordance with the terms of the Loan Documents.
                    (5) In any event, all outstanding principal, accrued but unpaid interest,
                        and all other Loan Obligations shall be due and payable in full on the
                        Maturity Date.
                    (6) Obligors agree that Borrower’s failure to pay any amounts or perform
                        any obligations described in this Section 7(a) shall be an Event of
                        Default under the Loan Documents that shall entitle Holder to exercise
                        any and all rights and remedies under the Loan Documents, including
                        without limitation, accelerating the Maturity Date and noticing the
                        Mortgaged Property for foreclosure sale. Obligors acknowledge that
                        they previously waived in the Loan Documents, and further agree to
                        waive, notice of intent to accelerate the Maturity Date and notice of
                        acceleration of the Maturity Date.
              (b)   Additional Required Repairs Deposit. The Loan Agreement is amended
as follows:
                    (1) The Loan Agreement is hereby amended to add the following
                        definition: “Additional Required Repairs” means those items listed
                        on Schedule 6A (Additional Required Repairs) attached to the Loan
                        Modification Agreement dated as of October 30, 2020, between
                        Borrower, Guarantors, and Fannie Mae.
                    (2) The Loan Agreement is hereby amended to add the following
                        definition: “Additional Required Repairs Deposit” means an amount
                        equal to $9,950.00.
                    (3) The definition of “Repairs” in the Loan Agreement is hereby amended
                        to provide as follows: “Repairs” means, individually and collectively,
                        the Required Repairs, Borrower Requested Repairs, Additional
                        Lender Repairs, and Additional Required Repairs.
                    (4) The Loan Agreement is hereby amended to add the following
                        provision as Section 13.01(h): Additional Required Repairs. Not
                        later than 3:00PM Eastern time on November 25, 2020, Borrower
                        agrees to pay to Loan Servicer the Additional Repairs Deposit for
                        deposit into the Repairs Escrow Account. Disbursements from the
                        Repairs Escrow Account for payment of the Additional Repairs shall
                        be governed by the terms of the Loan Agreement, including without
                        limitation, Article 13 thereof.
                    (5) Obligors agree that Borrower’s failure to pay any amounts or perform
                        any obligations described in this Section 7(b) shall be an Event of

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                        Default under the Loan Documents that shall entitle Holder to exercise
                        any and all rights and remedies under the Loan Documents, including
                        without limitation, accelerating the Maturity Date and noticing the
                        Mortgaged Property for foreclosure sale. Obligors acknowledge that
                        they previously waived in the Loan Documents, and further agree to
                        waive, notice of intent to accelerate the Maturity Date and notice of
                        acceleration of the Maturity Date.
               (c)    Debt Service Reserve. Obligors agree to establish with Loan Servicer a
debt service reserve account (the “Debt Service Reserve Account”). The Debt Service Reserve
Account shall be administered as follows:
                     (1) Not later than 3:00PM Eastern time on November 25, 2020, Borrower
                         agrees to pay to Loan Servicer an amount equal to $245,025.00 for
                         deposit into the Debt Service Reserve Account. Not later than
                         January 15, 2021, Borrower agrees to pay to Loan Servicer an
                         additional amount equal to $245,025.00 for deposit into the Debt
                         Service Reserve Account.
                     (2) Loan Servicer shall hold the funds on deposit in the Debt Service
                         Reserve Account as additional security for the payment of the Loan
                         and the performance of Obligors’ other obligations under the Loan
                         Documents and this Agreement. Obligors acknowledge and agree
                         that the Debt Service Reserve Account shall be a Collateral Account
                         as that term is defined in the Loan Agreement and that all funds on
                         deposit in the Debt Service Reserve Account shall be considered
                         Collateral Account Funds as that term is defined in the Loan
                         Agreement. Borrower grants to Holder a continuing security interest
                         in the Debt Service Reserve Account and all funds on deposit therein
                         as additional security for the payment and performance of the Loan
                         Obligations.
                     (3) Loan Servicer shall release funds on deposit in the Debt Service
                         Reserve Account to pay any monthly payment required under Section
                         7(a) above if the following conditions have first been satisfied: (i) No
                         default or Event of Default (as defined in the Loan Agreement) shall
                         then have occurred and be continuing; (ii) the Debt Service Coverage
                         Ratio of the Mortgaged Property on the applicable Payment Date
                         does not exceed 1.0:1.0; and (iii) on or prior to the applicable
                         Payment Date, Borrower requests in writing that Loan Servicer pay
                         such debt service payment from the Debt Service Reserve Account.
                         As used in this paragraph, the term “Debt Service Coverage Ratio”
                         shall mean the ratio, as determined by Loan Servicer, based on the
                         trailing twelve (12) calendar month period immediately preceding the
                         date of such determination, of the Net Operating Income of the
                         Mortgaged Property to the aggregate Debt Service Amounts that
                         Borrower is required to pay under the Loan Documents (as modified
                         by this Agreement) for such trailing twelve (12) calendar month
                         period. As used in this paragraph, the term “Net Operating Income”
                         shall mean the gross lease income from Borrower’s operation of the
                         Mortgaged Property for the applicable period, less the expenditures
                         during such period relating to the operation, maintenance and
                         management of the Mortgaged              Property, including actual

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                       management fees incurred in connection with the operation of the
                       Mortgaged Property, that are incurred on a regular monthly or other
                       periodic basis, including, without limitation, utilities, ordinary repairs
                       and maintenance, insurance, license fees, property taxes and
                       assessments, advertising expenses, management fees, payroll and
                       related taxes, computer processing charges, operational equipment or
                       other lease payments as approved by Loan Servicer, and other similar
                       costs, but excluding depreciation and amortization, Debt Service
                       Amounts, capital expenditures, and contributions to the
                       Reserve/Escrow Account, all computed in accordance with generally
                       accepted accounting principles or such other accounting basis
                       reasonably acceptable to Loan Servicer in all cases, consistently
                       applied, which accounting basis Borrower and Guarantor use for
                       purposes of financial reporting in accordance with this Agreement and
                       the other Loan Documents.
                    (4) Obligors acknowledge and agree that, regardless of the sufficiency of
                        any balance in the Debt Service Reserve Account, Borrower remains
                        obligated for payment of all Debt Service Amounts under the terms of
                        the Loan Documents and this Agreement.               Obligors further
                        acknowledge and agree that any insufficiency in the amount on
                        deposit in the Debt Service Reserve Account shall not relieve
                        Borrower from the obligation to make any payments, as and when due
                        pursuant to this Agreement, the Note and the other Loan Documents,
                        and any such obligation shall be separate and independent, and not
                        conditioned on any event or circumstance whatsoever. Likewise,
                        Obligors shall not be entitled to any release of funds from the Debt
                        Service Reserve Account for payment of Debt Service Amounts or
                        otherwise absent satisfaction of the conditions to such release as
                        provided above. Upon payment in full of all Loan Obligations, any
                        amount remaining on deposit in the Debt Service Reserve Account, if
                        any, shall be returned to Borrower.
                    (5) Obligors agree that Borrower’s failure to pay any amounts or perform
                        any obligations described in this Section 7(c) shall be an Event of
                        Default under the Loan Documents that shall entitle Holder to exercise
                        any and all rights and remedies under the Loan Documents, including
                        without limitation, accelerating the Maturity Date and noticing the
                        Mortgaged Property for foreclosure sale. Obligors acknowledge that
                        they previously waived in the Loan Documents, and further agree to
                        waive, notice of intent to accelerate the Maturity Date and notice of
                        acceleration of the Maturity Date.
              (d)   Springing Cash Management. Borrower and Holder agree to implement a
springing cash management system, as follows:
                    (1) Not later than November 25, 2020, Borrower shall (i) enter into a
                        deposit account agreement (the “Deposit Account Control
                        Agreement”) with Holder and a bank selected by Holder and
                        reasonably approved by Borrower (“Depository Bank”) in form and
                        substance reasonably satisfactory to Holder that provides, among
                        other things, that an account to which Borrower has no access (the
                        “Deposit Account”) shall be maintained by Depository Bank in the

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                name of Borrower for the benefit of Holder and that all funds in the
                Deposit Account (subject to any applicable minimum balance
                requirement) shall be transferred on a monthly basis by Depository
                Bank (x) so long as no Cash Trap Event Period is then continuing, to
                an account designated by Borrower in writing or (y) during the
                continuation of a Cash Trap Event Period (as herein defined), to an
                account established by Holder or Loan Servicer on behalf of Holder
                pursuant to the Cash Management Agreement (as defined below) (the
                “Cash Management Account”), (ii) enter into Holder’s then-standard
                form of Cash Management Agreement, which shall in all events be
                consistent with the terms of this Agreement, executed by Borrower,
                the Master Lessee (as defined in the Loan Agreement) the property
                manager of the Mortgaged Property (the “Manager”), and Holder and
                acknowledged by the Depository Bank, as cash management bank
                (the “Cash Management Agreement”), with such changes thereto as
                may be acceptable to Holder in its reasonable discretion, and (iii)
                provide such other, documents and instruments as Holder may
                reasonably request to grant to Holder a security interest in the Deposit
                Account and the Cash Management Account and to otherwise
                establish the cash management system required pursuant to the
                terms of this Agreement. Upon the execution of the Deposit Account
                Control Agreement and the Cash Management Agreement, such
                documents shall thereafter be considered “Loan Documents” for all
                purposes under the Loan Documents. During the continuation of a
                Cash Trap Event Period, Holder may apply all Rents received to fund
                any Imposition Deposits, Replacement Reserve Deposits, or other
                required reserve deposits, or to reduce the balance of the Loan
                Obligations, in such order as Holder may elect in Holder’s discretion.
                After the termination of a Cash Trap Event Period, so long as no other
                Cash Trap Event Period commences and is then continuing, Holder
                shall promptly direct Depository Bank to transfer funds on deposit in
                the Deposit Account to an account designated by Borrower on a
                monthly basis.
             (2) Upon execution of the Deposit Account Control Agreement, Borrower,
                 Master Lessee, and Manager shall cause all Rents received to be
                 deposited directly into the Deposit Account. Without limitation of the
                 foregoing, simultaneously with the execution of the Deposit Account
                 Control Agreement, Borrower shall cause to be delivered to each
                 tenant of the Mortgaged Property an instruction letter (a “Tenant
                 Direction Letter”), notifying and advising such tenant to send directly
                 to the Deposit Account or to a post office lockbox governed by the
                 Deposit Account Control Agreement all payments of Rent. Borrower
                 further agrees to promptly execute and deliver (x) additional Tenant
                 Direction Letters for tenants entering into Leases after the date of
                 execution of the Deposit Account Control Agreement and (y) any
                 replacement Tenant Direction Letters that Holder may reasonably
                 request from time to time.
             (3) As used in this Section 7(d), the term “Cash Trap Event Period” shall
                 mean the period after the occurrence of an Event of Default, as


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                          defined herein or in the Loan Agreement, and while such Event of
                          Default is continuing and remains uncured.
                      (4) So long as Borrower has fully complied with the terms of this
                          Agreement, the Cash Management Agreement, the Deposit Account
                          Control Agreement, and the other Loan Documents, and so long as
                          no Event of Default, or event or circumstance that shall become an
                          Event of Default after giving effect to any grace or cure period, has
                          occurred and is continuing, upon completion of all payments required
                          under Section 7(a)(1) above, the springing cash management system
                          described in this Section 7(d) shall terminate, and Obligors and Holder
                          shall execute such modifications or terminations of the Cash
                          Management Agreement and Deposit Account Control Agreement as
                          may be necessary, in Holder’s judgment, to implement the termination
                          of the springing cash management system.
                      (5) Obligors agree that Borrower’s failure to pay any amounts or perform
                          any obligations described in this Section 7(d) shall be an Event of
                          Default under the Loan Documents that shall entitle Holder to exercise
                          any and all rights and remedies under the Loan Documents, including
                          without limitation, accelerating the Maturity Date and noticing the
                          Mortgaged Property for foreclosure sale. Obligors acknowledge that
                          they previously waived in the Loan Documents, and further agree to
                          waive, notice of intent to accelerate the Maturity Date and notice of
                          acceleration of the Maturity Date.
         8.      Additional Affirmative Covenants. Obligors agree with and covenant unto
Holder that until the Loan Obligations have been paid in full, Obligors shall, in addition to, and
not in limitation of, any other agreements or covenants contained in this Agreement or the Loan
Documents:
               (a)   Pay to Holder in full all principal and interest as the same becomes due
under this Agreement and the Loan Documents;
                (b)      Pay all taxes as they come due and owing on the Collateral, including
without limitation, real and personal property taxes;
               (c)     Maintain insurance on the Collateral as required by the Loan Documents,
including without limitation, naming Holder as insured mortgagee or loss payee, as applicable,
and providing satisfactory proof of same to Holder upon Holder's request; and
               (d)    Provide to Holder such financial information as Holder may request.
       9.        Other Terms and Conditions. Except as hereby expressly modified, the Loan
Documents and all terms and conditions of the Loan Documents remain in full force and effect,
and the terms and conditions of the Loan Documents, as so modified, are hereby ratified and
affirmed in all respects. The Loan continues to be secured by the Collateral.
        10.    Holder’s Expenses. Obligors shall pay to Holder an amount sufficient to
reimburse Holder for the costs, fees, and expenses it has incurred in connection with the Loan,
including, without limitation, Holder's legal expenses, title update and title policy expenses,
appraisal expenses, recording expenses, and UCC search expenses (collectively, the
"Expenses").
       11.     No Novation. Nothing contained in this Agreement shall be construed to waive
any rights that Holder may have against Obligors except as expressly set forth herein. The

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execution and delivery of this Agreement shall not be interpreted or construed as, and in fact
does not constitute, a novation, waiver, payment, or satisfaction of all or any portion of the Loan.
Obligors acknowledge and agree that anything herein to the contrary notwithstanding, this
Agreement is not intended to be, and shall not be deemed or construed to be, a limitation,
novation or release of the rights and remedies which Holder has under applicable law, or the
Loan Documents, respectively, or any of them.
       12.    Release of Holder. In consideration of the agreements of Holder contained
herein and for other good and valuable consideration, the receipt and sufficiency of which is
hereby acknowledged, Obligors hereby agree as follows:
                 (a)    Each of the Obligors, on behalf of themselves, and each of their heirs,
successors, assigns, directors, officers, employees, agents, and other legal representatives, as
applicable (collectively, the "Releasors"), hereby absolutely, unconditionally and irrevocably
release, remise and forever discharge Holder, and its successors and assigns, and its present
and former members, shareholders, affiliates, subsidiaries, divisions, predecessors, directors,
officers, managers, attorneys, employees, agents and other representatives (Holder and all
such other persons being hereinafter referred to collectively as the "Releasees" and individually
as a "Releasee"), of and from all actions, causes of action, suits, covenants, contracts,
controversies, agreements, promises, accounts, bills, reckonings, damages and any and all
other claims, counterclaims, defenses, rights of set-off, demands and liabilities whatsoever
(individually, a "Claim" and collectively, "Claims") of every name and nature, known or unknown,
suspected or unsuspected, both at law and in equity, which Releasors may now or hereafter
own, hold, have or claim to have against the Releasees or any of them for, upon, or by reason
of any circumstance, action, cause or thing whatsoever which arises at any time on or prior to
the Effective Date of this Agreement, including, without limitation, for or on account of, or in
relation to, or in any way in connection with any of the Loan Documents or transactions
thereunder or related thereto.
               (b)    Obligors understand, acknowledge, and agree that the release set forth
above may be pleaded as a full and complete defense and may be used as a basis for an
injunction against any action, suit, or other proceeding which may be instituted, prosecuted or
attempted in breach of the provisions of such release.
                (c)     Obligors agree that no fact, event, circumstance, evidence, or transaction,
which could now be asserted or which may hereafter be discovered shall affect in any manner
the final, absolute, and unconditional nature of the release set forth above.
       13.     Obligors' Representations and Warranties.
                (a)     As a material inducement to Holder to enter into this Agreement, Obligors
represent and warrant to Holder that (1) this Agreement has been duly authorized, executed
and delivered pursuant to all necessary legal action and constitutes a valid and legally binding
obligation of Obligors, enforceable in accordance with its terms; (2) the persons executing this
Agreement on behalf of each Obligor have the capacity, power and authority to execute and
deliver and to perform his, her or its respective obligations under this Agreement and to
consummate all the transactions contemplated hereby and thereby; (3) this Agreement does not
violate, conflict with, or constitute any default under any law or regulation binding on or
applicable to Obligors, or any mortgage, security agreement, assignment, lease, credit or loan
agreement, contract, corporate, organizational or operational document, or other instrument
binding upon or affecting Obligors; (4) no Default or Event of Default exists as of the date
hereof; (5) Obligors have no setoff, defense, claim, or counterclaim with respect to the Loan
Documents, as so modified, or the payment or performance of the obligations evidenced by the
Loan Documents; and (6) Holder's agreed modification of the Loan Documents constitutes full

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and adequate consideration for the execution and delivery by Obligors of this Agreement, and
any other document executed in connection or as required by this Agreement.
               (b)     Obligors hereby reaffirm all of the representations and warranties
contained in the Loan Documents and warrant that such representations and warranties, are
true and correct as of the date of this Agreement (it being understood that any representation or
warranty made as of a specific date shall be true and correct in all material respects as of such
specified date).
                 (c)   All representations and warranties of Obligors contained in this
Agreement and in all other documents and instruments executed in connection herewith or
otherwise relating to this Agreement shall survive the execution of this Agreement and are
material and have been or will be relied upon by the parties hereto, notwithstanding any
investigation made by any person, entity or organization. No implied representations or
warranties are created or arise as a result of this Agreement or the documents comprising or
relating to this Agreement.
        14.      Adequate Consideration. Holder and Obligors hereby acknowledge and agree
that prior to giving effect to this Agreement, (a) Obligors requested Holder to modify the terms of
the Loan Documents; (b) Holder and Obligors had an opportunity to consult counsel of their own
choosing and have reviewed directly the terms and conditions of this Agreement; and (c)
Holder's agreed modification of the Loan Documents constitutes full and adequate consideration
for the execution and delivery by Obligors of this Agreement, and any other document executed
in connection or as required by this Agreement.
        15.     Indemnification. If, after receipt of any payment from Obligors for any
indebtedness owed by Obligors, Holder is compelled to surrender such payment to any person
or entity for any reason (including, without limitation, a determination that such payment is void
or voidable as a preference or fraudulent conveyance, an impermissible setoff, or a diversion of
trust funds), then Obligors shall be liable for, and shall indemnify, defend and hold harmless
Holder with respect to the full amount so surrendered relating to Obligors, including any fees
and costs incurred by Holder in connection therewith, regardless of cause or the fault or
negligence of Holder. The provisions of this section shall survive the termination of this
Agreement and the other Loan Documents and shall be and remain effective notwithstanding
the repayment of the Loan, the cancellation of any Loan Document, the release of any lien,
security interest, or other encumbrance securing the Loan, or any other action that Holder may
have taken in reliance upon the receipt of such payment. Any cancellation of a note, release of
any such encumbrance, or other such action shall be deemed to have been conditioned upon
any payment having become final and irrevocable.
        16.    Cooperation; Other Documents. At all times following the execution of this
Agreement, Obligors shall execute and deliver, or shall cause to be executed and delivered, and
shall do or cause to be done all such other acts and things as Holder may reasonably deem to
be necessary or desirable to assure Holder of the benefit of this Agreement and the documents
comprising or relating to this Agreement.
        17.    Remedies Cumulative; No Waiver.               The respective rights, powers and
remedies of Holder in this Agreement and in the Loan Documents are cumulative and not
exclusive of any right, power or remedy provided by law or equity, and no failure or delay on the
part of Holder in the exercise of any right, power or remedy shall operate as a waiver thereof,
nor shall any single or partial exercise of any right, power or remedy preclude any other or
further exercise thereof, or the exercise of any other right, power or remedy. Nothing contained
in this Agreement or in any prior communications between Obligors and Holder shall constitute
a waiver or modification of any rights or remedies that Holder may have under the Loan

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Documents or applicable law. Holder expressly reserves and preserves all of its rights and
remedies.
       18.     Waiver of Marshaling. Obligors further acknowledge and agree that all of the
Collateral described in the Loan Documents will continue to secure the Obligations, and
Obligors have heretofore and do hereby waive any right for a marshaling of the respective
Collateral now or hereafter subject to the liens and security interests of the Loan Documents.
        19.      Notices. All notices, demands, or other communications under this Agreement
(collectively, "Notices") shall be in writing and shall be delivered to the appropriate recipient at
the address set forth below (subject to change from time to time by written notice to all other
parties to this Agreement). All Notices shall be deemed to have been given (a) upon delivery, if
delivered in person, (b) upon delivery, if by sent by electronic mail with receipt acknowledged by
the recipient thereof, (c) one (1) business day after having been deposited for overnight delivery
with any reputable overnight courier service and addressed to the appropriate recipient at the
address specified below, or (d) three (3) business days after having been deposited in any post
office or mail depository regularly maintained by the U.S. Postal Service and sent by registered
or certified mail, postage prepaid, return receipt requested, addressed to the appropriate
recipient at the address specified below; provided, however, that non-receipt of any Notice as
the result of any change of address of which the sending party was not notified or as the result
of a refusal to accept delivery shall be deemed receipt of such notice or communication. For
purposes of notice, the address of the parties shall be:
Obligors:        NB Vue Mac, DST
                 Nelson Brothers Professional Real Estate, LLC
                 180 Avenida La Pata, 2nd Floor
                 San Clemente, California 92673
                 Attention: Patrick Nelson
                 Email: patrick@nelsonpartners.com

                 Patrick Nelson
                 104 Via Almodovar,
                 San Clemente, CA 92672
                 Email: patrick@nelsonpartners.com

                 Brian Nelson
                 7657 S Debra Dr.
                 Gilbert, AZ 85298

Holder:          Fannie Mae
                 c/o Berkley Point Capital LLC, d/b/a Newmark Knight Frank
                 7700 Wisconsin Ave, Suite 1100
                 Bethesda, MD 20814
                 Attention: Josephine Ajayi
                 Email: josephine.ajayi@ngkf.com

          with a copy to:

                 Daniel J. Ferretti
                 Baker Donelson, Bearman, Caldwell, & Berkowitz, PC
                 1301 McKinney St., Suite 3700
                 Houston, TX 77010
                 Email: dferretti@bakerdonelson.com

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       20.      Severability; Interpretation. Any provision in this Agreement that may be
unenforceable or invalid under any law shall be ineffective to the extent of such unenforceability
or invalidity without affecting the enforceability or validity or any other provision hereof. All
masculine, feminine, and neuter pronouns used herein shall be interpreted to include the
masculine, feminine, or neuter where the context so requires. Likewise, the singular shall
include the plural, and vice versa. The terms and conditions set forth in this Agreement are the
product of joint draftsmanship by all parties, each being represented or having the opportunity to
be represented by counsel, and any ambiguities in this Agreement or any documentation
prepared pursuant to or in connection with this Agreement shall not be construed against any of
the parties because of draftsmanship. This Agreement is not intended to modify and does not
modify the rights, remedies and obligations of Holder and Obligors pursuant to any of the Loan
Documents except to the extent expressly set forth herein.
        21.    Integration. This Agreement constitutes the entire agreement of the parties
pertaining to the subject matter hereof and all prior negotiations and representations relating
thereto are merged herein. THE WRITTEN LOAN AGREEMENT, AS MODIFIED BY THIS
AGREEMENT, REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND
MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR
SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE ARE NO UNWRITTEN
ORAL AGREEMENTS BETWEEN THE PARTIES.
        22.   Counterparts. This Agreement may be executed in counterparts, each of which
shall be an original, but all of which when taken together shall constitute one and the same
instrument. Signatures transmitted by email or facsimile shall have the same force and effect as
originals.
       23.    Review of Agreement. Obligors and Holder acknowledge and agree that each
has had an opportunity to review and consider the terms and provisions of this Agreement and
each of the other Loan Documents, to consult with counsel of each party's choice, if desired,
and to suggest changes to the structure and terms of this Agreement and the other Loan
Documents. Obligors and Holder represent and warrant to the other that each is a sophisticated
business party and that the execution of this Agreement and any related Loan Documents is
made voluntarily and with full knowledge of the significance and effect of such agreements.
        24.     Successors and Assigns. This Agreement shall inure to the benefit of, and be
binding upon, the representatives, successors and assigns of the parties hereto, respectively;
provided, however, Obligors may not assign the Loan Documents, as modified herein, or any
rights under the Loan Documents, as modified herein, or delegate any duties or obligations
under the Loan Documents, as modified herein, without the express written consent of Holder,
which consent shall be in Holder’s sole and absolute discretion. Obligors acknowledge and
agree that Holder may sell or transfer all or part of the Loan and Loan Documents to one or
more purchasers, whether related or unrelated to Holder, without notice and without the consent
of the parties.
      25.     Governing Law. This Agreement shall be governed by and be construed in
accordance with the laws of the State of Texas (without regard to conflicts of laws).
      26.  WAIVER OF JURY TRIAL. TO THE EXTENT PERMITTED BY APPLICABLE
LAW, OBLIGORS AND HOLDER HEREBY WAIVE ANY RIGHT TO TRIAL BY JURY ON
ANY CLAIM, COUNTERCLAIM, SETOFF, DEMAND, ACTION OR CAUSE OF ACTION (A)
ARISING OUT OF OR IN ANY WAY PERTAINING OR RELATING TO THIS AGREEMENT,
THE LOAN DOCUMENTS OR ANY OTHER INSTRUMENT, DOCUMENT OR AGREEMENT
EXECUTED OR DELIVERED IN CONNECTION WITH THE LOAN OR (B) IN ANY WAY
CONNECTED WITH OR PERTAINING OR RELATED TO OR INCIDENTAL TO ANY

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DEALINGS OF THE PARTIES HERETO WITH RESPECT TO THIS AGREEMENT, THE
LOAN DOCUMENTS, OR ANY OTHER INSTRUMENT, DOCUMENT OR AGREEMENT
EXECUTED OR DELIVERED IN CONNECTION WITH THIS AGREEMENT OR THE LOAN
DOCUMENTS OR IN CONNECTION WITH THE TRANSACTIONS RELATED THERETO OR
CONTEMPLATED THEREBY OR THE EXERCISE OF ANY PARTY’S RIGHTS AND
REMEDIES THEREUNDER, IN ALL OF THE FOREGOING CASES WHETHER NOW
EXISTING OR HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT, TORT
OR OTHERWISE.


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                                  HOLDER:


                                  FANNIE MAE


                                  By:
                                  Print Name: Roy E. Miller
                                  Title: Assistant Vice President




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                                     SCHEDULE 6A
                              (Additional Required Repairs)


      Item           Total                            Brief Description
                     Cost
Fire Extinguishers   $2,500   Type ABC fire extinguishers are installed in cabinets
                              throughout the interior hallways/breezeways. The inspection
                              tags are out of date (see Photo 45). f3 recommends the fire
                              extinguishers be inspected by a licensed fire equipment
                              inspection firm to insure proper operation and eliminate
                              potential life safety hazards.
   Down Unit         $5,000   Unit 119 (3 bedrooms) is "down" (unleasable) reportedly due to
                              microbial growth from a previous plumbing leak. f3
                              recommends a licensed mold remediation firm be contracted to
                              remediate the mold. In addition the unit should be renovated
                              and returned to rent ready condition. Renovation should
                              include replacement of flooring, drywall repairs, duck cleaning,
                              unit cleaning and painting as needed.
   Moisture          $650     Mold was reported in "down" Unit 119 (3 bedrooms) due to a
Management Plan               past plumbing leak. Based on observed/reported evidence of
                              water intrusion and/or mold, a Moisture Management Plan
                              should be developed and implemented. At a minimum, the
                              MMP must contain a provision for (i) staff training, (ii)
                              information to be provided to tenants, (iii) documentation of the
                              plan, (iv) the appropriate protocol for incident response and
                              remediation and (v) routine, scheduled inspections of common
                              space and unit interiors.
     Parking         $1,800   Parking for the Property is provided by a five-story concrete
                              parking garage attached to the building. The garage is in good
                              condition; however, the parking stall markings are faded (see
                              Photo 6). f3 recommends the parking stall and fire lane
                              markings be restriped.
 Total Additional    $9,950
Required Repairs




                                        Schedule 6A
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                                                                                                     1301 MCKINNEY STREET
                                                                                                     SUITE 3700
                                                                                                     HOUSTON TEXAS 77010


                                                                                                     PHONE:       713.650.9700
                                                                                                     FAX:         713.650.9701




                                                                                                     www.bakerdonelson.com


      DANIEL J. FERRETTI, SHAREHOLDER
      Direct Dial: 713.210.7436
      E-Mail Address: dferretti@bakerdonelson.com


                                                      December 4, 2020

      Via Federal Express (Next Business Day Delivery) and
      U.S. Mail – Certified (Return Receipt Requested)

      NB Vue Mac, DST                                              NB Vue Mac, DST
      c/o Nelson Brothers Professional Real Estate                 c/o Tucker Ellis LLP
      180 Avenida La Pata, 2nd Floor                               233 South Wacker Drive, Suite 6950
      San Clemente, CA 92673                                       Chicago, IL 60606
      Attention: Patrick Nelson                                    Attention: Thomas R. Fawkes

      Patrick Nelson                                               Brian Nelson
      104 Via Almodovar,                                           130 Vantis Drive, Suite 160
      San Clemente, CA 92672                                       Aliso Viejo, CA 92656

      Re:       Holder:             Fannie Mae
                Mortgaged Property: The Vue at MacGregor Apartments, 4460 S. MacGregor Way,
                                    Houston, TX 77021 (Harris County)
                Loan Number:
                Servicer:           Berkeley Point Capital, LLC d/b/a Newmark Knight Frank

                          Loan and Security Agreement (the "Loan Agreement") dated as of December 18,
                          2015, (the "Loan Date") executed by NB Vue Mac, DST, a Delaware statutory
                          trust (the "Borrower") and Berkeley Point Capital, LLC, a Delaware limited
                          liability company (the "Original Lender" or "Servicer") with respect to the Loan
                          defined therein, which Loan is evidenced by the Multifamily Note (the "Note"),
                          dated as of the Loan Date, executed by Borrower to the order of Original Lender,
                          in the original principal amount of $23,265,000.00, and is secured by, inter alia,
                          the lien of that certain Multifamily Deed of Trust, Assignment of Rents, Security
                          Agreement and Fixture Filing (the "Security Instrument"), dated as of the Loan
                          Date, recorded at Instrument Number 20150570034, in the official records of
                          Harris County, Texas (the "Recording Office"), covering certain real and personal
                          property (collectively, the "Property") located in Houston, Texas, and more
                          particularly described in the Security Instrument, and is also supported by, inter
                          alia, that certain Guaranty of Non-Recourse Obligations (the “Guaranty”), dated
                          as of the Loan Date, executed by Patrick Nelson, Brian Nelson, and Nelson
                          Brothers Professional Real Estate, LLC (collectively, “Guarantors”) in favor of

                                                                               EXHIBIT A-8
ALABAMA Ć FLORIDA Ć GEORGIA Ć LOUISIANA Ć MARYLAND Ć MISSISSIPPI Ć SOUTH CAROLINA Ć TENNESSEE Ć TEXAS Ć VIRGINIA Ć WASHINGTON D.C.
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NB Vue Mac, DST, et al.
December 4, 2020
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               Original Lender; said Loan Agreement, Note, Security Instrument and Guaranty
               having been endorsed, transferred and assigned from Original Lender to Fannie
               Mae ("Fannie Mae" or "Holder") as of the Loan Date, pursuant to that certain
               Assignment of Security Instrument recorded at Instrument Number 20150570035,
               in the Recording Office.

To Whom It May Concern:

        As you are aware, our firm has been retained by Fannie Mae in connection with the Loan
Agreement, the Note, the Security Instrument, the Guaranty and all other documents
(collectively, the "Loan Documents") executed in connection with the above-described loan (the
"Loan").

        Borrower, Guarantors, and Fannie Mae entered into that certain Loan Modification
Agreement dated as of November 1, 2020 (the "Modification Agreement"). Among other
provisions, Borrower agreed in the Modification Agreement to pay monthly payments to Fannie
Mae beginning on November 1, 2020, and to deposit funds on or before November 25, 2020 with
the Servicer to be placed in an Additional Repair Reserve and a Debt Service Reserve. Borrower
has failed to make any monthly payments under the Modification Agreement or to deposit the
required Additional Repair Reserve or Debt Service Reserve funds with the Servicer.

        As a result of Borrower’s failure to commence making monthly payments after the
expiration of the Forbearance Period, an "Event of Default" has occurred pursuant to Section
14.01(a)(1) of the Loan Agreement and Sections 7(a)(6), 7(b)(5) and 7(c)(5) of the Modification
Agreement, which entitles Fannie Mae to, among other things, declare the entire indebtedness of
the Loan to be immediately due and payable and to invoke the power of sale and any other
remedies permitted by Texas law or provided in the Security Instrument or in any other Loan
Document. Under Section 7 of the Note and Sections 7(a)(6), 7(b)(5) and 7(c)(5) of the
Modification Agreement, Borrower and Guarantors have waived notice of intent to accelerate
and notice of acceleration of the maturity of the Loan.

        This letter hereby constitutes a formal notice that the maturity date of the Note has been
accelerated as a result of the occurrence and present continuation of such Events of Default.
Demand is hereby made for immediate payment in full of the entire unpaid principal balance of
the Note, plus (to the extent lawful) accrued and unpaid interest thereon and the costs and
attorneys’ fees of Fannie Mae. In order to determine the exact payoff figure currently owing to
Fannie Mae pursuant to the Note, please contact Josephine Ajayi of the Servicer at 301-347-4902
or via email at josephine.ajayi@ngkf.com, or, if you have counsel, you may have your counsel
contact me at the direct dial telephone number set forth above.

        You are further notified that, by reason of such default and acceleration of said
indebtedness of the Loan, Fannie Mae will immediately institute foreclosure proceedings under
the Security Instrument and may otherwise exercise any and all other rights and remedies
enumerated in the Loan Documents or otherwise available at law or in equity (including, without
limitation, the appointment of a receiver over the Property, applications of escrow deposits,
reserves and/or other funds held by Servicer toward payment of Borrower’s obligations under the
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Loan Documents in the manner set forth therein). The foreclosure notice to be posted and filed
in accordance with Texas foreclosure law will be forwarded to you by separate correspondence.

        Please be advised that the demand made hereby is being given pursuant to the terms and
provisions of the Loan Documents. By making this demand, Fannie Mae does not waive any of
the rights or remedies available to Fannie Mae under the Loan Documents or otherwise. No
failure to exercise any rights or remedies available to Fannie Mae and no delay in exercising any
such rights or remedies shall operate as a waiver of any rights which Fannie Mae may have
pursuant to the terms of the Loan Documents or otherwise. Further, any reference by Fannie
Mae or Servicer to any Event of Default or default shall in no way constitute, or be construed to
be, a waiver of any other Event of Default or default which may now exist or hereafter arise
under the Loan Documents.

     UNDER THE SECURITY INSTRUMENT EXECUTED BY BORROWER IN FAVOR
OF FANNIE MAE, BORROWER’S LICENSE TO COLLECT RENTS HAS TERMINATED,
AND FANNIE MAE IS NOW ENTITLED TO ALL RENTS AS THEY BECOME DUE AND
PAYABLE, INCLUDING RENTS CURRENTLY DUE AND UNPAID. UNTIL FURTHER
NOTICE, ANY RENTS BORROWER RECEIVED OR RECEIVES AFTER THE
OCCURRENCE OF THE EVENTS OF DEFAULT SHALL BE RECEIVED AND HELD BY
BORROWER IN TRUST FOR THE BENEFIT OF FANNIE MAE. UNTIL FURTHER
NOTICE, ALL SUCH RENTS SHALL BE APPLIED ONLY TO BONA FIDE CURRENT
OPERATING EXPENSES TO THIRD PARTIES IN CONNECTION WITH THE
OPERATION OF THE PROPERTY WITH ANY AND ALL EXCESS PAID TO FANNIE
MAE, TO BE APPLIED IN ACCORDANCE WITH THE LOAN DOCUMENTS.

        Also, please be advised that pursuant to the Guaranty, the Guarantors are liable to Fannie
Mae for, among other things under Section 3.02(a) of the Loan Agreement, (x) all Rents to
which Fannie Mae is entitled under the Loan Documents, and (y) Borrower’s failure, following a
default under any of the Loan Documents, to deliver to Fannie Mae on demand all Rents and
security deposits relating to the Property. Specification of certain bases for exceptions to non-
recourse liability on the part of the Borrower or the Guarantors in no way constitutes a waiver of
any other bases for exceptions to non-recourse liability that the Borrower or the Guarantors may
have under the Loan Documents.

        Please be advised that any discussions that may have occurred or may occur in the future
between representatives of Borrower and of Fannie Mae and/or the Servicer regarding the
Property, the Note, the Security Instrument or any of the other Loan Documents do not constitute
modifications, waivers or extensions of the provisions of the governing Loan Documents that
relate to the Loan. Borrower may not rely upon any such discussions in any manner or fashion.
Unless and until a binding, written agreement has been fully executed by and between all parties,
Fannie Mae’s rights and remedies are and will continue to be governed by and fully enforceable
under the terms of the Loan Documents.

       For your information, this letter is also being sent to the Guarantors as notice of
Borrower’s default under the operative Loan Documents. Fannie Mae, at its sole option and in
addition to any other remedies available to Fannie Mae, may seek to recover from the Guarantors
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any indebtedness and any other obligations owing by Guarantors pursuant to and consistent with
the Loan Documents.

        Notwithstanding any previous action or inaction by or on behalf of Servicer or Fannie
Mae to the contrary, if any, you are hereby notified that Fannie Mae will hereafter require strict
compliance with the terms and conditions of the Note and other Loan Documents, and Fannie
Mae does not in any manner waive any rights or remedies available against the Borrower or the
Guarantors pursuant to the Note or other Loan Documents or applicable law, including without
limitation the rights described in this letter.

    THIS LAW FIRM, FANNIE MAE AND SERVICER ARE ATTEMPTING TO
COLLECT THE INDEBTEDNESS EVIDENCED BY THE NOTE AND/OR SECURED
BY THE LIENS, SECURITY INTERESTS, AND TERMS AND PROVISIONS
CONTAINED WITHIN THE LOAN DOCUMENTS, AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.

        Neither Fannie Mae, the Servicer, nor undersigned counsel have been advised and have
no knowledge of any pending bankruptcy proceeding involving the Borrower or Guarantors. To
the extent the Borrower's or Guarantors' obligations may have been discharged, dismissed, or are
subject to an automatic stay of a bankruptcy order under Title 11 of the United States Code, this
notice is for compliance and informational purposes only and does not constitute a demand for
payment or any attempt to collect any such obligation. This notice is given pursuant to
11 U.S.C. Section 362(b)(11), if applicable.

       Your immediate attention to this matter is encouraged.

                                                    Sincerely,

                                                    BAKER, DONELSON, BEARMAN,
                                                    CALDWELL & BERKOWITZ, PC




                                                    Daniel J. Ferretti, Shareholder
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               %URWKHUV 3URIHVVLRQDO 5HDO (VWDWH //& FROOHFWLYHO\ ³*XDUDQWRUV´ LQ IDYRU RI
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/RDQ 

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SD\PHQWV WR )DQQLH 0DH EHJLQQLQJ RQ $SULO   DQG FRQWLQXLQJ RQ WKH VDPH GD\ RI HDFK
PRQWK WKHUHDIWHU %RUURZHU KDV IDLOHG WR SD\ WKH IXOO DPRXQW RI WKH PRQWKO\ SD\PHQW GXH RQ
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FRPSOLDQFH ZLWK WKH WHUPV DQG FRQGLWLRQV RI WKH 1RWH DQG RWKHU /RDQ 'RFXPHQWV DQG )DQQLH
0DH GRHV QRW LQ DQ\ PDQQHU ZDLYH DQ\ ULJKWV RU UHPHGLHV DYDLODEOH DJDLQVW WKH %RUURZHU RU WKH
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VXEMHFW WR DQ DXWRPDWLF VWD\ RI D EDQNUXSWF\ RUGHU XQGHU 7LWOH  RI WKH 8QLWHG 6WDWHV &RGH WKLV
QRWLFH LV IRU FRPSOLDQFH DQG LQIRUPDWLRQDO SXUSRVHV RQO\ DQG GRHV QRW FRQVWLWXWH D GHPDQG IRU
SD\PHQW RU DQ\ DWWHPSW WR FROOHFW DQ\ VXFK REOLJDWLRQ 7KLV QRWLFH LV JLYHQ SXUVXDQW WR
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